                    Case 1:25-mj-00094-HKS                Document 1     Filed 05/27/25      Page 1 of 6
AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the
                                                    Western District of New York


                          United States of America
                                                                                          25-MJ- 94
                                           v.

                              James R Muench Jr.
                                        Defendant


                                                      CRIMINAL COMPLAINT


         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about May 20, 2025, in the Western District of New York, County of Erie, the defendant, JAMES R
         MUENCH JR., knowingly and willfully entered an aircraft or an airport area at the Buffalo Niagara
         International Airport that serves an air carrier or foreign air carrier, by forcefully ramming his vehicle through
         a closed security gate and entering the secure aircraft operational area of the airport. All in violation of Title
         49, United States Code, Sections 46314(a) and (b)(2).

         This Criminal Complaint is based on these facts:

         ‫ ܈‬Continued on the attached sheet.


                                                                                      Complainant’s signature

                                                                     THOMAS C. DEWEY II
                                                                     TASK FORCE OFFICER
                                                                     FEDERAL BUREAU OF INVESTIGATION
                                                                                      Printed name and title



Sworn to before me telephonically.


          27 2025
Date: May ____,
                                                                                           Judge’s signature



                                                                     HON. H. KENNETH SCHROEDER JR.
City and State: Buffalo, New York                                    UNITED STATES MAGISTRATE JUDGE
                                                                                        Printed name and title
        Case 1:25-mj-00094-HKS         Document 1         Filed 05/27/25   Page 2 of 6




               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK )
COUNTY OF ERIE    )                  SS:
CITY OF BUFFALO   )


       I, Thomas C. Dewey II, being duly sworn, depose and state:


                                     INTRODUCTION

          1.   I am a Task Force Officer of the Federal Bureau of Investigation and entered

on duty in March of 2008. I am currently assigned to the Buffalo Field Office and work on

cases associated with the Violent Crime Safe Streets Task Force, which includes individuals

involved in offenses on aircraft. As part of these duties, I have become involved in the

investigation of suspected violations of Title 49 of the United States Code. I make this

affidavit in support of a criminal complaint charging JAMES R. MUENCH JR

(“MUENCH”), with violating Title 49, United States Code, Section 46314 (Entering aircraft

or airport area in violation of security requirements).


          2.   The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers in this

investigation, and upon my training and experience as a Task Force Officer of the Federal

Bureau of Investigation. Because this affidavit is being submitted for the limited purpose of

seeking a criminal complaint, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts necessary to establish probable

cause to believe that MUENCH violated Title 49, United States Code, Section 46314.




                                               1
        Case 1:25-mj-00094-HKS           Document 1        Filed 05/27/25   Page 3 of 6




                                    RELEVANT STATUTE

          3.   Title 49, United States Code, Section 46314 states, in pertinent part, as follows:

“A person may not knowingly and willfully enter, in violation of security requirements

prescribed under section 44901, 44903(b) or (c), or 44906 of this title, an aircraft or an airport

area that serves an air carrier or foreign air carrier.”


                                      PROBABLE CAUSE

          4.   On or about May 20, 2025, Niagara Frontier Transportation Authority

(NFTA) Police responded to a breach of the secure airport perimeter at the Buffalo Niagara

Internation Airport (BNIA), located in Cheektowaga, within the Western District of New

York. The Airport is divided into publicly accessible areas (like the passenger terminal and

parking areas) and secure areas (like the sterile gate area of the terminal, airfield movement

areas, taxiways, runways, and all the aircraft ramps). BNIA serves multiple commercial air

carriers (like Southwest, Delta, United, and American Airlines), freight carriers (such as

FedEx and United Parcel Service), and several general aviation providers. The initial report

to police was that a vehicle had crashed through a closed security gate and then continued

onto the aircraft operational area (AOA) of the airport.


          5.   The entire perimeter of the Buffalo Niagara International Airport is secured via

chain-link fencing with barbed wire and is only accessible to individuals with proper vetting

and clearance. Visible “no-trespassing” signs are posted at various locations on the chain-link

fencing surrounding the airport. Signage is posted along the perimeter fencing and at all access

gates identifying the area as secure, and that only authorized access is allowed. The security

measures also include electronically controlled access gates which allow cleared and badged


                                                 2
        Case 1:25-mj-00094-HKS          Document 1       Filed 05/27/25     Page 4 of 6




individuals entrance into the aircraft operational area. There are manned security checkpoint

booths inside the AOA, with security guards who are responsible for verifying everyone’s

identity and confirm whether they are authorized to enter the AOA.


          6.   On May 20, 2025, a vehicle, described as a gray 2012 GMC Sierra pickup truck

bearing New York registration 32069NC – later identified as belonging to the defendant,

JAMES R MUENCH JR. - breached perimeter access Gate 1 at the Buffalo Niagara

International Airport by forcefully driving up to the gate and intentionally crashing into and

ramming the gate three to four times, bending the metal gate until failure. After breaking

through the gate, the vehicle then drove through the Gate 1 area to the AOA without

authorization, evading the security procedures or restrictions in place.


          7.   Gate 1 is a secure entrance to the airport area that consists of a reinforced

automated chain-link fence that can be opened to allow authorized ingress and egress to the

airport’s AOA. The Gate 1 area has a security camera, a “no-trespassing” sign adjacent to the

gate, and a security booth where a security guard works. The security guard is responsible for

checking each person’s information before allowing them access to the AOA.


          8.   After crashing through Gate 1, the vehicle was observed driving through

various secure parts of the airport to include the airfield, aircraft taxiways, the passenger ramp

where commercial aircraft are usually docked when transporting passengers, and the airport

runway where aircraft take off and land. Vehicle access to all these areas is highly regulated.


          9.   The NFTA police responded to the scene and were able to follow the vehicle’s

tracks through the grass on the airfield. This led NFTA police to a decommissioned and non-

operational training aircraft which is positioned on the western side of the airfield. Upon
                                                3
       Case 1:25-mj-00094-HKS          Document 1      Filed 05/27/25     Page 5 of 6




arriving at the decommissioned aircraft, NFTA police officers were directed by airport field

operations staff, who were working in the area at the time, to a male wearing a green shirt

and rubber boots, as the person who operated the 2012 GMC Sierra pickup truck. This person

was later identified as JAMES R MUENCH JR. The defendant was standing near his GMC

Sierra pickup truck when NFTA police arrived, and he was arrested.


         10. Interviews and review of the Buffalo Niagara International Airport surveillance

video showed MUENCH driving his vehicle to the area where the decommissioned aircraft

was located. After arriving at that area, the defendant exited his vehicle and climbed a set of

access stairs and entered the decommissioned training airplane. He later exited the

decommissioned airplane where he was arrested.


         11. The defendant was also observed on video surveillance in his vehicle earlier

that morning parked outside the departure area at the airport for an extended period, before

he rammed his vehicle through Gate 1 to gain access to the AOA.




                                      CONCLUSION

         12. Based upon the foregoing, I respectfully submit that I have probable cause to

believe that JAMES R MUENCH JR. has violated Title 49, United States Code, Section

46314, in that he knowingly and willfully entered the secure area of the Buffalo Niagara

International Airport, which serves numerous air carriers, when he repeatedly rammed the




                                              4
       Case 1:25-mj-00094-HKS         Document 1    Filed 05/27/25    Page 6 of 6




security gate with his vehicle, and then drove onto the secure aircraft operations area in

violation of security requirements.


                                                     ________________________ ___
                                                                              ___
                                                ___________________________________
                                                     as C. Dewey II
                                                Thomas
                                                Task Force Officer
                                                Federal Bureau of Investigation

Sworn to before me telephonically this
27TH day of May, 2025.

____________________________________
 __________________________________
                                  _ _
HON. H. KENNETH SCHROEDER      ER
                               E   JR.
                                 R JR
United States Magistrate Judge




                                            5
